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 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 STATEMENT PURSUANT TO LOCAL
                                                  RULE 79-5(F)(3) OF DEFENDANTS NSO
14               Plaintiffs,                      GROUP TECHNOLOGIES LIMITED
                                                  AND Q CYBER TECHNOLOGIES
15         v.                                     LIMITED IN RESPONSE TO
                                                  PLAINTIFFS’ ADMINISTRATIVE
16   NSO GROUP TECHNOLOGIES LIMITED               MOTION TO CONSIDER WHETHER
     and Q CYBER TECHNOLOGIES LIMITED,            ANOTHER PARTY’S MATERIAL
17                                                SHOULD BE FILED UNDER SEAL [RE
                     Defendants.                  DOCKET NO. 504]
18

19                                                Judge: Hon. Phyllis J. Hamilton
20                                                Action Filed: 10/29/2019
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     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                 Case No. 4:19-cv-07123-PJH
     STATEMENT [DKT. 508]
     Case 4:19-cv-07123-PJH          Document 537         Filed 01/16/25    Page 2 of 4



 1          Pursuant to Civil Local Rule 79-5(f)(3), Defendants NSO Group Technologies Limited and

 2   Q Cyber Technologies Limited (collectively, the “Defendants”) submit this statement in response

 3   to Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should Be Filed

 4   Under Seal (“Administrative Motion”) (Dkt. 504). Plaintiffs identified portions of their Motion to

 5   Exclude the Expert Testimony of Colonel Ty Shepard (the “Motion to Exclude”) and Exhibit B to

 6   the Declaration of Micah G. Block in Support of the Motion to Exclude (“Block Declaration”)

 7   (collectively, the “Materials”) as containing references to documents that Defendants have

 8   designated as confidential pursuant to the Stipulated Protective Order (Dkt. No. 132). Defendants

 9   provide their position regarding sealing of the Materials below.

10   I.     LEGAL STANDARD

11          Although courts recognize a general right to inspect and copy public records, “access to

12   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th

13   Cir. 2006). The showing necessary to seal materials depends on how closely related those materials

14   are to the merits of the case. “A party seeking leave to file documents under seal in conjunction

15   with a non-dispositive motion” need only show “good cause exists to file the information under

16   seal.” Uniloc United States of Am., Inc. v. Apple Inc., No. 18-cv-00362-PJH, 2018 WL 2392561,

17   at *3 (N.D. Cal. May 25, 2018) (Hamilton, J.). Under the “good cause” standard, the relevant

18   inquiry is “whether good cause exists to protect the information from being disclosed to the public

19   by balancing the needs for discovery against the need for confidentiality.” Wells Fargo & Co. v.

20   ABD Ins. & Fin. Servs., No. C 12-3856 PJH, 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013)

21   (Hamilton, J.).   Here, the Materials are not filed in connection with a dispositive motion.

22   Accordingly, the “good cause” standard applies to this Motion. “Good cause” requires only “a

23   particularized showing” that sealing is appropriate, which “will suffice to seal documents.”

24   Kamakana, 447 F.3d at 1180.

25   II.    DEFENDANTS’ LOCAL RULE 79-5(F)(3) STATEMENT

26          As shown below, good cause exists warranting sealing the highlighted portions of Plaintiff’s

27   Motion to Exclude (Dkt. 504-3) and Col. Shepard’s deposition transcript attached as Exhibit B to

28   Mr. Block’s (Dkt 504-4). The transcript of Col. Shepard’s deposition has been designed as “Highly

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     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                        Case No. 4:19-cv-07123-PJH
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     Case 4:19-cv-07123-PJH           Document 537         Filed 01/16/25     Page 3 of 4



 1   Confidential—Attorney’s Eyes Only” pursuant to the Stipulated Protective Order in this case (Dkt. No.

 2   132). The transcript, together with the Motion to Exclude that heavily cites to it, is replete with

 3   highly confidential information that is subject to legal restrictions and confidentiality obligations

 4   the disclosure of which can jeopardize national security interests of the United States and foreign

 5   countries. Specifically, the transcript contains descriptions of Col. Shepard’s highly confidential

 6   military and intelligence activities he performed in his various roles at the California Military

 7   Department, Army National Guard, and the Department of Defense, including of certain operations

 8   the United States government has undertaken to combat terrorism, human trafficking, and

 9   organized crime. The transcript also contains discussion of highly confidential conversations Col.

10   Shepard has had with certain domestic and foreign governmental agencies regarding the use of

11   NSO’s technology. The public disclosure of those activities and conversations would jeopardize

12   the national security interest of the United States and foreign governments, which warrants sealing.

13   See, e.g., United States ex rel. Kelly v. Serco. Inc., 2014 WL 12675246, at *4 (S.D. Cal. Dec. 22,

14   2014) (finding that national security interests are compelling reasons for filing documents under

15   seal); Compal Elecs., Inc. v. Apple Inc., 2017 WL 11423604, at *3 (S.D. Cal. Sept. 5, 2017); Omari

16   v. Ras Al Khaimah Free Trade Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017);

17   Strauss v. Credit Lyonnais, S.A., 2011 WL 4736359, at *5 (E.D.N.Y. Oct. 6, 2011), Compal Elecs.,

18   Inc. v. Apple Inc., 2017 WL 11423604, at *3 (S.D. Cal. Sept. 5, 2017); Omari v. Ras Al Khaimah

19   Free Trade Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017); Strauss v. Credit

20   Lyonnais, S.A., 2011 WL 4736359, at *5 (E.D.N.Y. Oct. 6, 2011).

21          The confidential portions of Exhibit B to Mr. Block’s declaration are so extensive, and the

22   non-confidential portions so small, that Defendants ask the Court to seal the entirety of the portions

23   of Col. Shepard’s transcript attached as Exhibit B to Mr. Block’s declaration.

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       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                       Case No. 4:19-cv-07123-PJH
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 1          Accordingly, Defendants respectfully request that the Court grant Plaintiffs’ Administrative

 2   Motion in full and order the foregoing Materials to be kept under seal.

 3

 4    Dated: January 16, 2025                             KING & SPALDING LLP

 5                                                        By: /s/ Aaron S. Craig
                                                          JOSEPH N. AKROTIRIANAKIS
 6                                                        AARON S. CRAIG
 7                                                        Attorneys for Defendants

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       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                       Case No. 4:19-cv-07123-PJH
       STATEMENT [DKT. 508]
